Case 1: 04- -c\/- -01151- .]DT- STA Document 13 Filed 05/17/05 Page 1 0/@®!/ Page|D 14

IN THE UNITED STATES DISTRICT COUR'l/%}'/) \

@/>
FoR THE wEsTERN DISTRICT oF TENN‘$SSBE /y/€ 11
EASTERN DIVISION 41/,>' (:;_;' a j@, "/,
' /’1/.'“?@»”4
°'"§'Cri§`€?
JIMMIE HILL and BARBARA HILL, ) "“/5/’
)
Plaintii`fs, )
)
VS. ) No. 1-04-1151-T-An
)
JAMES BOWLES, CHIEF OF POLICE )
OF GIB SON, TENNESSEE, et al., )
)
Defendants. )

 

ORDER REQUIRING PARTIES TO FILE SUPPLEMENTAL BRIEFS

 

Plaintiffs Jimmie and Barbara Hill brought suit in the Circuit Court of Gibson
County, Tennessee, against Defendauts J ames Bowles, Gibson Chief of Police, Wallace
Keymon, Mayor of Gibson, and the Town of Gibson, Termessee. Defendants removed the
action to district court, arguing that Plaintiffs’ claims appeared to be brought pursuant to 42
U.S.C. § 1983 because their complaint alleged action under color of law and retaliation and
sought attorneys fees as well as a jury trial. Defendants filed a motion to dismiss pursuant
to FED. R. CIV. P. 12(b)(6), and/or in the alternative, a motion for summary judgment under
FED. R. CIV. P. 56(0). Plaintiffs responded; hcwever, they did not address whether their
claims were brought pursuant to § 1983. According]y, this court ORDERS Plaintiffs to file
a supplemental brief within twenty (20) days of this order on the issue of whether this court

has subj ect matter jurisdiction over their claims. Defendants will then have twenty (20) days

Thls document entered on the docket sheet ln oompllence
wah sure 5a anew 79 (a) r-'ncP on 5

Case 1:04-cv-01151-.]DT-STA Document 13 Filed 05/17/05 Page 2 of 3 Page|D 15

to respond.

IT IS SO ORDERED.

 

 

UN ED STATES DISTRICT .TUDGE

/ém% 9005"

DATE . (/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:04-CV-01151 was distributed by faX, mail, or direct printing on
May 17, 2005 to the parties listed

ESSEE

 

Fred Collins

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

l\/lilan7 TN 38358

Sam .1. Watridge

LAW OFFICE OF SAM J. WATR]DGE
1215 Main Street

Humboldt7 TN 38343

Michael R. Hill

FLIPPIN COLLINS & H[LL, PLLC
P.O. Box 679

l\/lilan7 TN 38358

Honorable .1 ames Todd
US DISTRICT COURT

